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                             7   Attorneys for Plaintiffs Hui MA, Ailing ZHAO, Xi LIU, Yixuan WANG, and Rui ZHANG

                             8
                                                                   UNITED STATES DISTRICT COURT
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                                                                NORTHERN DISTRICT OF CALIFORNIA
                         10
                                                                         SAN FRANCISCO DIVISION
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                         12        HUI MA, AILING ZHAO, XI LIU,                                 Case No. 3:21-cv-00856-WHO
                                   YIXUAN WANG, and RUI ZHANG,
                         13                                                                     JOINT STATUS REPORT PURSUANT
                                                             Plaintiffs,                        TO DOC. 58
                         14
                                   v.
                         15
                                   GOLDEN STATE RENAISSANCE                                     Complaint filed:         Feb. 3, 2021
                         16        VENTURES, LLC, dba Golden Gate
                                   Global, a California Limited Liability
                         17        Company; GSRV MANAGEMENT, LLC, a                             Date:                    Dec. 1, 2021
                                   California Limited Liability Company;                        Time:                    N/A
                         18        GSRV-VTI MANAGEMENT, LLC, a                                  Courtroom:               Courtroom 2, 17th fl.
                                   California Limited Liability Company;                        Judge:                   Hon. William H. Orrick
                         19        ERIC CHELINI, an individual; STEVEN
                                   KAY, an individual; and VERTEBRAL
                         20        TECHNOLOGIES, INC., a Minnesota
                                   corporation,
                         21
                                                           Defendants.
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                         25                Pursuant to the Court’s order at Doc. 58 granting Defendants’ motions to compel and

                         26      requiring a status report to be submitted every six months, the parties submit this joint status

                         27      report.

                         28                The parties have engaged in negotiations regarding the format of an arbitration

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                                                                                   JOINT STATUS REPORT
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                             1   proceeding, and have identified a mutually acceptable arbitrator. In addition, the parties have a
                             2   tentative agreement on the procedures for an arbitration proceeding. The parties have
                             3   commenced some settlement discussions. At this point, no party requests that the Court lift the
                             4   stay of the instant action.
                             5

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                             7   DATED: December 1, 2021                     By:      DGW KRAMER LLP
                             8
                                                                                               /s/ Katherine Burghardt Kramer
                             9                                                                 Rongping Wu
                                                                                               Katherine Burghardt Kramer
                         10
                                                                                               Counsel for Plaintiffs Hui MA,
                         11                                                                    Ailing ZHAO, Xi LIU, Yixuan
                                                                                               WANG, and Rui ZHANG
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                         14
                                 DATED: December 1, 2021                           BARTKO ZANKEL BUNZEL & MILLER
                         15
                                                                                   A Professional Law Corporation
                         16

                         17                                                        By:          /s/ Robert H. Bunzel
                                                                                         Robert H. Bunzel
                         18                                                              Attorneys for Defendants GOLDEN STATE
                         19                                                              RENAISSANCE VENTURES, LLC; GSRV
                                                                                         MANAGEMENT, LLC; and STEVEN KAY
                         20

                         21
                                 DATED: December 1, 2021                           HANSON BRIDGETT LLP
                         22

                         23

                         24                                                        By:          /s/ Lawrence M. Cirelli
                                                                                         Lawrence M. Cirelli
                         25                                                              Attorneys for Defendants ERIC CHELINI and
                                                                                         GSRV-VTI MANAGEMENT, LLC
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                                   Case 3:21-cv-00856-WHO Document 61 Filed 12/01/21 Page 3 of 3



                             1   DATED: December 1, 2021                          SEYFARTH SHAW LLP
                             2

                             3                                                    By:          /s/ M. Ryan Pinkston
                                                                                        M. Ryan Pinkston
                             4                                                          Alexandra V. Drury
                                                                                        Attorneys for Defendant VERTEBRAL
                             5                                                          TECHNOLOGIES, INC.
                             6

                             7

                             8                            ATTESTATION REGARDING SIGNATURES
                             9          Pursuant to Civil Local Rule 5-(i) regarding signatures, I attest that the concurrence in the
                         10      filing of this document has been obtained.
                         11

                         12      DATED: December 1, 2021                    By:      DGW KRAMER LLP

                         13                                                                   /s/ Katherine Burghardt Kramer
                                                                                              Katherine Burghardt Kramer
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